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Attorney for Plaintiff

                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


delfin bautista, on behalf of themself and       Case No. _____
all others similarly situated
                                                       PLAINTIFF’S COMPLAINT AND
                     Plaintiff,                          DEMAND FOR JURY TRIAL
       v.

OHIO UNIVERSITY;                                        Presiding Judge _____
                                                        Magistrate Judge _____


                     Defendant.                  DEMAND FOR JURY TRIAL




                                      I.         INTRODUCTION

        Now Comes Plaintiff, delfin bautista (“bautista”) by and through their Attorney, Michael

L. Fradin, Attorney at Law, and brings this action against Defendant Ohio University (“OU”)

pursuant to Title IX of the Education Amendments of 1972, 20 U.S.C. § 1681 ("Title IX").

                                           II.      PARTIES
    A. Plaintiff
        1.     Plaintiff deflin bautista is a trans/non-binary, queer, and Latinx resident of the

state of Ohio (Plaintiff bautista uses they/them pronouns and the lowercase spelling of their



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name). Plaintiff bautista was employed as the Director of the LGBT Center at Ohio University

from June 2013 until their termination without cause in or around January, 2019.

       2.      At all times relevant herein, Plaintiff has been a citizen of the United States and a

resident of Ohio.

       3.      At all times relevant herein, Plaintiff was an employee of Ohio University.

       Defendant

       4.      Defendant Ohio University is a public educational institution located in Athens,

Ohio. Defendant Ohio University received federal funding and financial assistance within the

meaning of 20 U.S.C. § 1681(a) and is otherwise subject to Title IX.

       5.      At all relevant times, Ohio University was Plaintiff bautista’s employer.

                            III.     JURISDICTION AND VENUE
       6.      This Court has jurisdiction over the claims in this Complaint pursuant to 28

U.S.C. § 1331 (federal question) and 28 U.S.C. § 1343 (civil rights).

       7.      Defendant Ohio University is a resident of this district and the events giving rise

to this lawsuit occurred in this district and so venue is proper pursuant to both 28 U.S.C. §1391

(b)(1) and 28 U.S.C. §1391 (b)(2).

                                           IV.       FACTS
       8.      Plaintiff bautista was employed as Ohio University’s Director of the LGBT

Center from June 2013 until January 2019.

       9.      Gigi Secuban is a female and resident of Athens, Ohio. At all times material

hereto, Secuban was the Vice President of Ohio University’s Division of Diversity and Inclusion.

Secuban is still currently employed in this position by Defendant University.

       10.     In July 2018, Defendant Ohio University hired Secuban for the new position of

Vice President for the Office of Diversity and Inclusion. The Vice President for the Office of



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Diversity and Inclusion oversees the LGBT Center, the Multicultural Center, the Office of

Multicultural Student Access and Retention (OSMAR), and the Women’s Center.

        11.     Soon after Secuban was hired, she began singling out Plaintiff bautista and

making Plaintiff bautista (as well as the wider LGBT Center) the target of discriminatory and

disparate treatment.

        12.     Secuban ignored Plaintiff bautista and the LGBT Center except when there was

an opportunity to chastise, castigate, intimidate, or discipline Plaintiff bautista.

        13.     Secuban consistently ignored and/or failed to respond to Plaintiff bautista’s emails

and attempts to set up meetings that dealt with pressing work matters, such as meetings regarding

the new physical location of the LGBT Center.

        14.     Over a span of two months, Secuban visited the LGBT Center a mere three times.

When Plaintiff bautista or other LGBT Center staff attempted to engage Secuban, Secuban

would quickly leave and say she was just “popping in.” Secuban rebuffed attempts to be

introduced to students and staff in the LGBT Center.

        15.     When Plaintiff bautista asked other Directors in the Office of Diversity and

Inclusion if they were subjected to surprise visits from Secuban, they informed Plaintiff bautista

that they were not.

        16.     Secuban’s visits to the LGBT Center were thinly veiled attempts to intimidate

Plaintiff bautista, rather than a meaningful attempt at engagement with Plaintiff bautista or the

LGBT Center.

        17.     Plaintiff bautista was the only director whose meetings with Secuban included the

presence of an HR representative, Bill Fodor.




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       18.     Plaintiff bautista was the only Director among the Diversity and Inclusion staff

who was subjected to a full audit. Books, furniture, and other miscellaneous items were included

in Plaintiff bautista’s audit, while such items were not included in other Directors’ audits.

       19.     Plaintiff bautista was the only Director among the Diversity and Inclusion staff

whose audit included unscheduled visits from the audit team.

       20.     Secuban constantly mis-pronouned, mis-gendered, and dead-named Plaintiff

bautista and other trans-identified students (both LGBT Center staff and non-staff) during her

tenure as Vice President for the Office of Diversity and Inclusion while Plaintiff bautista was

still the Director of the LGBT Center.

       21.     On or around September 25, 2018, Plaintiff bautista filed a discrimination

complaint with Defendant Ohio University’s Office of Equity and Civil Rights Compliance

(ECRC) against Secuban.

       22.     The September 25, 2018 ECRC discrimination complaint outlined Secuban’s

disparate treatment of Plaintiff bautista compared to Secuban’s treatment of other directors in the

Office of Diversity and Inclusion.

       23.     On or around October 3, 2018, Plaintiff bautista filed a follow-up complaint with

Defendant OU’s ECRC about their experience with Secuban. The complaint stated that the

discrimination and disparate treatment from Secuban had “become more intense.”

       24.     Defendant OU was deliberately indifferent to the discrimination identified and

reported to Defendant OU’s ECRC by Plaintiff bautista.

       25.     On or around January 10, 2019, OU removed Plaintiff bautista as the Director of

the LGBT Center.




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       26.     OU, through Secuban, purposefully terminated Plaintiff bautista in an exceedingly

unprofessional, demeaning, and humiliating fashion.

       27.     Plaintiff bautista arrived to work on January 10, 2019, to find their email address

already deactivated and set up to send automated messages to anyone who contacted the email

address.

       28.     Secuban laughed while she informed Plaintiff bautista of their termination from

the position of Director of the LGBT Center.

       29.     Secuban could not, and failed to, offer a legitimate reason for Plaintiff bautista’s

removal. When Plaintiff bautista asked Secuban for some semblance of a reason for their

termination, Secuban said that the Office of Diversity and Inclusion was moving in a different

direction.

       30.     Secuban’s inability to produce a legitimate reason for Plaintiff bautista’s

termination stems from the fact that Plaintiff bautista met or exceeded standards for every item

on each of their performance evaluations they received dating back to 2014, and the fact that

Plaintiff bautista’s personnel file contained no disciplinary actions or records of any official

investigations into their conduct initiated prior to their termination on January 10, 2019.

       31.     Even after Plaintiff bautista was terminated from the directorship of the LGBT

Center, Secuban has continued her discriminatory treatment and retaliation against Plaintiff

bautista. Following Plaintiff bautista’s termination, an article was published in a local newspaper

discussing Plaintiff bautista’s positive work performance. The following day, an article was

published regarding the audit and alleged misuse of funds. The issues stemming from the audit

and alleged misuse of funds were never brought to Plaintiff bautista’s attention by Secuban.




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Furthermore, Plaintiff bautista never received a copy of the audit and was only able to obtain a

copy of it through the aforementioned local newspaper.

                                             COUNT I
                                        Violation of Title IX
                 (Deliberate Indifference Resulting in Hostile Work Environment)
           32.    Plaintiff bautista re-alleges all prior paragraphs of the Complaint as if set out here

in full.

           33.    Defendant OU carries out one or more education programs or activities receiving

Federal financial assistance within the meaning of Title IX, 20 U.S.C. §1681(a).

           34.    Secuban’s relentless discrimination and disparate treatment of Plaintiff bautista

created an environment in which Plaintiff bautista was patently and viscerally unsafe around

Secuban and was based on Plaintiff’s sexual orientation and/or gender identity.

           35.    Plaintiff bautista reported Secuban’s behavior and its effects on them and the

workings of the LGBT Center to Defendant OU’s ECRC in September 2018, and then made a

follow-up complaint in October 2018, noting that the situation had “become more intense.”

These complaints put Defendant University on notice of the hostile environment Secuban had

created.

           36.    Defendant OU had a duty to adequately respond to the complaints of Plaintiff

bautista against Secuban, to remedy the hostile work environment that resulted from Secuban’s

sexual orientation and/or gender identity-based harassment and to prevent additional harassment

by Secuban.

           37.    Despite its duties, Defendant OU did not investigate the multiple complaints

raised by Plaintiff bautista but instead disregarded and ignored them.

           38.    Defendant OU was deliberately indifferent to the repeated and consistent

complaints raised by Plaintiff bautista regarding the hostile work environment engendered by


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Secuban. The Defendant not only failed to appropriately address the discrimination, it also

supported Secuban while discrediting and punishing Plaintiff bautista for complaining about

Secuban’s conduct.

         39.    Through its failures and mistreatment of Plaintiff bautista, Defendant OU

contributed to and exacerbated the hostile environment engendered by Secuban’s discriminatory

behavior.

         40.    The hostile environment was based upon Plaintiff bautista’s sexual orientation

and/or gender identity and interfered with Plaintiff bautista’s employment and ability to carry out

their job duties.

                                            COUNT II
                                        Violation of Title IX
                                           (Retaliation)
         41.    Plaintiff bautista re-alleges all prior paragraphs of the Complaint as if set forth

here in full.

         42.    Defendant OU carries out one or more education programs or activities receiving

Federal financial assistance within the meaning of Title IX, 20 U.S.C. § 1681(a).

         43.    At all pertinent times, Plaintiff bautista was an employee or former employee of

OU and, based upon their sexual orientation and/or gender identity, a member of a protected

class.

         44.    Since 2018, when Plaintiff bautista became aware of their disparate and

discriminatory treatment by Secuban, Plaintiff bautista has engaged in protected activities in

opposition to unlawful and discriminatory practices committed by Secuban and based upon

Plaintiff bautista’s sexual orientation and/or gender identity.

         45.    Defendant OU was aware of Plaintiff bautista’s engagement in protected

activities.


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       46.     As a direct result of, and in retaliation for, Plaintiff bautista’s engagement in

protected activities, Defendant OU engaged in a series of materially adverse employment actions

against Plaintiff bautista, ultimately culminating in the termination of Plaintiff bautista’s

employment with OU.

                                     A. PRAYER FOR RELIEF

       WHEREFORE, Plaintiff bautista respectfully demands judgment against Defendant and

asks the Court for the following relief:

                       a. Damages in amounts to be established at trial including but not limited
                           to damages for past, present, and future emotional pain and suffering,
                           ongoing and severe mental anguish, loss of past, present and future
                           enjoyment of life, past, present, and future medical expenses, and lost
                           earnings and earning capacity;
                       b. Unpaid wages, including overtime wages, as to be determined at trial
                           together with any liquidated damages allowed by law;
                       c. Other compensatory damages;
                       d. Injunctive relief as this Court deems necessary and proper;
                       e. A declaratory judgment that Defendant violated Plaintiff bautista’s
                           Constitutional rights;
                       f. Other injunctive relief to be determined at trial requiring Defendant
                           OU to comply with federal law under Title IX;
                       g. Pre- and post-judgment interest;
                       h. Costs;
                       i. Punitive damages;
                       j. Attorney’s fees pursuant to all relevant statutes and law; and
                       k. Such other and further relief as the Court may deem just and proper.
                                           B. JURY DEMAND
       Plaintiff bautista demands trial by jury on all counts of the Complaint.




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DATED: October 9, 2020
                                                             Respectfully submitted,
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